Case 6:08-cr-00271-CEM-G_K Document 53 Filed 02/27/09 Page 1 of 1 PageID 158




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


UNITED STATES OF AMERICA

-v-                                                  CASE NO. 6:08-CR-271-ORL-35DAB

LATAVIOUS HAZLEY
_____________________________________


                                           ORDER

       This case having been considered by the Court on the Report and Recommendation

Concerning Plea of Guilty (Doc. No. 49, filed January 27, 2009) and no objection thereto having

been filed, it is ORDERED:

       1.     The Report and Recommendation of the United States Magistrate Judge (Doc. No.

49) is ACCEPTED, AFFIRMED AND ADOPTED.

       2.     Defendant Latavious Hazley has entered a plea of guilty to Count One of the

Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and Defendant is

adjudicated guilty of Count One of the Indictment.

       DONE AND ORDERED at Orlando, Florida, this 26th day of February, 2009.




Copies to:
Assistant United States Attorney
Attorney for Defendant
United States Marshal
United States Probation
United States Pretrial Services
